       Case 1:22-cv-02300-ELR Document 193 Filed 10/20/23 Page 1 of 3




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KAREN FINN, et al.,          *
                             *
           Plaintiffs,       *
                             *
        v.                   *                     1:22-CV-02300-ELR
                             *
COBB COUNTY BOARD OF         *
ELECTIONS AND REGISTRATION, *
et al.,                      *
                             *
           Defendants.       *
                             *
                        _________

                                  ORDER
                                  _________

      Presently before the Court are the Parties’ “Consent Motion to Modify the

Scheduling Order” [Doc. 180] and Plaintiffs’ “Unopposed Motion for Leave to File

Excess Pages.” [Doc. 190]. First, upon review and consideration, the Court

GRANTS IN PART AND DENIES IN PART the Parties’ “Consent Motion to

Modify the Scheduling Order” [Doc. 180]. Specifically, the Court GRANTS that

motion to the extent that it requests that the Court set a briefing schedule for

Plaintiffs’ anticipated motion for preliminary injunction. Those deadlines are as

follows:
Case 1:22-cv-02300-ELR Document 193 Filed 10/20/23 Page 2 of 3
         Case 1:22-cv-02300-ELR Document 193 Filed 10/20/23 Page 3 of 3




support of their motion for preliminary injunction. Plaintiffs’ brief should otherwise

conform with this district’s Local Rules.1

       SO ORDERED, this 20th day of October, 2023.




                                                       ______________________
                                                       Eleanor L. Ross
                                                       United States District Judge
                                                       Northern District of Georgia




1
  Although Plaintiffs represent that no response or reply briefs will be filed in connection with their
motion for preliminary injunction, the Court notes that any other filings related to that motion
should conform with the page limitations and other requirements as set out in the Local Rules of
this district.


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